Case 2:19-cv-01130-RSL Document 96-28 Filed 03/04/21 Page 1 of 13




                EXHIBIT 28
Case 2:19-cv-01130-RSL Document 96-28 Filed 03/04/21 Page 2 of 13
Case 2:19-cv-01130-RSL Document 96-28 Filed 03/04/21 Page 3 of 13
Case 2:19-cv-01130-RSL Document 96-28 Filed 03/04/21 Page 4 of 13
Case 2:19-cv-01130-RSL Document 96-28 Filed 03/04/21 Page 5 of 13
Case 2:19-cv-01130-RSL Document 96-28 Filed 03/04/21 Page 6 of 13
Case 2:19-cv-01130-RSL Document 96-28 Filed 03/04/21 Page 7 of 13
Case 2:19-cv-01130-RSL Document 96-28 Filed 03/04/21 Page 8 of 13
Case 2:19-cv-01130-RSL Document 96-28 Filed 03/04/21 Page 9 of 13
Case 2:19-cv-01130-RSL Document 96-28 Filed 03/04/21 Page 10 of 13
Case 2:19-cv-01130-RSL Document 96-28 Filed 03/04/21 Page 11 of 13
Case 2:19-cv-01130-RSL Document 96-28 Filed 03/04/21 Page 12 of 13
Case 2:19-cv-01130-RSL Document 96-28 Filed 03/04/21 Page 13 of 13
